           Case 1:17-cr-00201-ABJ Document 365 Filed 08/02/18 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        )
                                                 )
                v.                               )
                                                 )
 RICHARD W. GATES III,                           )             Crim. No. 17-201-2 (ABJ)
                                                 )
                Defendant.                       )


  DEFENDANT RICHARD W. GATES III’S RESPONSE TO THE COURT’S JULY 5,
   2018, MINUTE ORDER, AS MODIFIED IN ITS JULY 10, 2018, MINUTE ORDER

       Defendant, by and through counsel, responds to this Court’s July 5, 2018, Minute Order,

as modified in its July 10, 2018, Minute Order. On the evening of July 31, 2018, counsel for

defendant obtained the sealed transcripts from the February 7, 2018, and February 14, 2018,

hearings. Counsel has reviewed these transcripts and the sealed document at Dkt. 167.

Defendant has no objection to the unsealing of Dkt. 167.

       For the most part, defendant does not object to the unsealing of the transcripts from the

hearings on February 7, 2018, and February 14, 2018. However, defendant does object to

unsealing the portions of those transcripts in which (1) counsel for defendant spoke about the

content of conversations between counsel and defendant; (2) defendant spoke about the content

of conversations between counsel and defendant; and (3) counsel spoke about the content of

conversations among co-counsel for defendant. These conversations implicate attorney-client

privilege and should remain under seal.

       A list of the portions of the transcripts that should remain under seal for this reason

follows.

       February 7, 2018, Transcript

               6: 14–15


                                                 1
 Case 1:17-cr-00201-ABJ Document 365 Filed 08/02/18 Page 2 of 3



       8: 3–8, 13–14; 18

       9: 11–14; 20–22

       10: 8; 12–13; 15–22; 25

       11: 1–4; 6–10

       12: 17–18

       13: 7–15

       15: 1–7; 9–16; 22–23; 25

       16: 1–9

       18: 5–9; 21; 25

       19: 1–4; 14–15

       20: 2–5; 9–10; 12–16

       23: 13–16

       24: 14–16

       28: 21–23

       30: 7–8; 23–25

       31: 1

       32: 3–4; 25

       33: 1–7

       34: 15–16

February 14, 2018, Transcript

       14: 24–25

       16: 1

       52: 23–25



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Case 1:17-cr-00201-ABJ Document 365 Filed 08/02/18 Page 3 of 3



    53: 1–3; 7–11; 14

    55: 10–17

    59: 9–17



                                  Respectfully submitted,


                                  /s/Thomas C. Green
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